Case: 1:15-cv-10109 Document #: 217 Filed: 07/05/18 Page 1 of 3 PageID #:1583




                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

NIRAV THAKKAR,                        )
                                      )
     Plaintiff,                       )
                                      )               No.: 1-15 CV 10109
v.                                    )
                                      )               Honorable John J. Tharp Jr.
OCWEN LOAN SERVICING, LLC,            )
ALTISOURCE SOLUTIONS, INC.,           )
ALTISOURCE PORTFOLIO SOLUTIONS, S.A., )
BAXOL PROPERTIES, LLC, and LAUDAN     )
PROPERTIES, LLC,                      )
                                      )
     Defendants.                      )
OCWEN LOAN SERVICING, LLC,            )
ALTISOURCE SOLUTIONS, INC.,           )
     Defendants/Cross Claimants,      )
                                      )
v.                                    )
                                      )
BAXOL PROPERTIES, LLC, and LAUDAN     )
PROPERTIES, LLC,                      )
     Defendants/Cross Defendants .    )
OCWEN LOAN SERVICING, LLC,            )
ALTISOURCE SOLUTIONS, INC., and       )
BAXOL PROPERTIES, LLC,                )
     Third-Party Plaintiffs,          )
                                      )
v.                                    )
                                      )
GREEN GROUP CORP.,                    )
     Third-Party Defendant.           )

              NOTICE OF FIRM NAME AND ADDRESS CHANGE

PLEASE TAKE NOTICE THAT effective July 1, 2018, McKnight, Kitzinger & Pravdic,

LLC changed its name and address from:

                        McKnight, Kitzinger & Pravdic, LLC
                          117 N. Jefferson St., Suite 301
                             Chicago, Illinois 60661
Case: 1:15-cv-10109 Document #: 217 Filed: 07/05/18 Page 2 of 3 PageID #:1584




To the following:

                             McKnight & Kitzinger, LLC
                           805 N. Milwaukee Ave, Suite 400
                                Chicago, Illinois 60642

All future reference to the firm in this matter should be to McKnight & Kitzinger LLC.

The firm’s and its lawyers’ phone numbers, fax numbers and email addresses have not been

affected by this change.

McKnight & Kitzinger, LLC                   /s/Cornelius E. McKnight
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                           PROOF OF SERVICE BY ECF

I, Cornelius E. McKnight, an attorney, being first duly sworn on oath, depose and say that
I served a copy of the attached document(s) by filing same with the Clerk of the Court
using the CM/ECF system, on July 5, 2018, which will send notification of such filing to
the following:

                                                    /s/Cornelius E. McKnight
                                                    Cornelius E. McKnight

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Case: 1:15-cv-10109 Document #: 217 Filed: 07/05/18 Page 3 of 3 PageID #:1585




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